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BOT

 

United States District Court

CHSTREQT f
Eastern District of Pennsylvania é

 

UNITED STATES OF
Ww
DANI NEMR TARRAF
DOURENEME TARR AF
HASSAN MOHAMAD KOMEFNA
HUSSEIN ALEASFOUR,
avkia “A tex”
ALI PADEL YAHFOUP!

AMERICA

DOCKET NG

 

 

MAGISTRATES CASE NC)

 

Complaint for violations of Title 18, United States Code §§ 23329 and 371

 

NAME OF JUDGE OR MAGISTRATE

ronorable TIMOTHY R. RICE

OFFICIAL TITLE TOOT Cod

Philadelphia, PA

 

U.S. Magistrate Judge

 

DATE OF OFFENSE PLACE OF OF PENSE
From in or about January Eastern District of
2007 through in or about Pannsyivania and
Navember 2009 elsewhere

 

 

ADDRESS OF ACCUSED (if known)

See Attachment B

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

 

oee Attachment A

 

 

HASTS OF COMPLAINANT'S CHARGE AGAINST THE ACOCLISEDY

SEE AFFIDAVIT ATTACHED HERETO

 

MATERIAL WITNESSES IN RELATION AGAINST THE AQCUSEL:

 

Being duly sworn, | declare that the foregoing
is true and correct to the best of my ki powled ee,

SIGNATURE OF COMPLAINANT (official title

 

 

| Smemo, Jr. Ak. bse A:
OFFICIAL TITLE

Supervisory Special Agent
Federal Bureau of Investigation

Samuel
FFL

 

Sworn to before myelind subslgbed in as Lf
2 eee

 

    

 

 
    
 

SIGNATURE OF MAGISTRIR fee f° bo / “ DATE
“ % fon EN * if “ i
Honorable TIMOTHY R. I RICE, U nited States s Magistrate Judge” >. November |" 2009

 

 

1) See Federal Rules of Criminal Procedure niles 4 and $4.

 

 

 

 
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ATTACHMENT A

From in or about June 2007 through and including in or about November 2009, DANI NEMR
PARRAF, DOURL NEMR TARRAF, HASSAN MOHAMAD KOMEIHA, and HUSSEIN ALI
ASPOUR, a/k/a “Alex,” conspired to transport stolen goods, in violation of Title 18, United States
Cade, Section 371:

From in or about March 2009 through and including in or about November 2009, DANL NEMR
TARRAE conspired to acquire a missile system designed to destroy aircrafi, in violation of Title 18,
United States Code. Section 23329:

From in or about March 200° through and including in or about Noveraber 2009, DANI NEMR
TARRAF conspired to possess machineguns, in violation of Title 18, United States Code, Section
371; and

From in or about September 2008 through and including in or about November 2009, DANI NEMR
TARRAL and ALIFADEL YAHFOUPFI conspired to commit passport fraud, in violation of Title
18, United States Code, Section 371,
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ATTACHMENT B

DANI NEMR TARRAF
Trnava, Republic of Slovakia; Lebanon

DOURT NEMR TARRAF
Frnava, Republic of Slovakia; Lebanon

HASSAN MOHAMAD KOMEIHA
Lebanon

HUSSEIN ALI ASFOUR,
a/k/a “Alex,”
[00 Cross Link Trail, Centerville GA 31028

ALI FADEL YAMFOUF!

‘Trnava, Republic of Slovakia: Lebanon

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AFFIDAVIT IN SUPPORT OF APPLICATION
VOR ARREST AND SEIZURE WARRANTS

I, Samuel Smemo, Jr., being duly sworn, depose and state the following:

L fam a Supervisory Special Agent with the Federal Bureau of Investigation’s Joint
Terrorism Task Porce (ITTF"), Philadelphia Division, and have been so employed since March
2007. From March 2004 through March 2067, [ was a Supervisory Special Agent with the
international Terrorism Operations Section (TOS-1) in PBI Headquarters. | served as a Special
Agent of the FBI from August 1998 through March 2004. From 1988 through 1998, T served with
the United States Marshals Service. | have received basic and advanced training in the areas of
criminal investigation, evidence collection, and the handling of confidential human sources, During
the years assigned to the JTTF, f have investigated a variety of federal violations, including
Providing Material Support to a Designated Terrorist Organization (18 U.S.C. § 2339B); Possession
of Machineguns (18 U.S.C. § 922(0)); Transportation of Weapons in Interstate/Foreign Commerce
(8 USC, § 922(a)(4)); Acquiring Missile System Designed to Destroy Aircraft (18 ULS.C. §
2332g). Transportation of Stolen Property (18 U.S.C, § 2314); Trafficking in Counterfeit Goods (18
Uos.C. § 2320); Money Laundering (18 U.S.C. §§ 1956 & 1957); False Statements to Government
Officials (18 U.S.C. § L001); Passport Fraud (18 U.S.C. §8 1542 & 1543); Dealing in Counterfeit
Obligations (18 U.S.C. § 473); Conspiracy (18 U.S.C. § 371); and Aiding and Abetting (18 U.S.C.
§ 2).

fatroduction

2. This affidavit is made in support ofa criminal complaint and arrest warrants charging
the following defendants with the following crimes:

 

STATUTE CHARGE DEFENDANT(S)

 

iS USC. § 37] Conspiracy to Transport DANT NEMR TARRAF
Stolen Property DOURITNEMR TARRAF
HASSAN MOHAMAD KOMETHA
HUSSEIN ALL ASFOUR,

a/k/a “Alex”

 

Conspiracy to Acquire DANENEMR TARRAF
Missile System Designed
to Destroy Aircraft

 

IB USC. § 371 Conspiracy to Possess DANI NEMR TARRAF
Machineguns

 

18 U.S.C. § 37] Conspiracy to Commit DANI NEMR TARRAF
Passport Fraud ALI FADEL YAHFOUFI

 

 

 

 

 
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‘The facts set forth in this affidavit reflect my personal knowledge, information obtained during my
participation in this investigation, review o fdocuments, knowledge obtained from other individuals
including law enforcement personnel, and communications with others who have personal
knowledge of the events and circumstances described herein. Because this affidavit is submitted for
the limited purpose of establishing probable cause, the affidavit does not set forth every fact learned
during the course of this investigation.

Conspiracy fo Transnert Stolen Property — 18 U.S. § 374

3, In or about late June 2007, a law enforcement officer acting in an undercover capacity
(the “UC™) began receiving calls from an unidentified telephone number with a 313- area code (area
including Detroit, Michigan). Eventually, the UC answered and learned that the caller was defendant
HASSAN MOHAMAD KOMEIHA, who identified himself as a cousin of “S.K.,” an individual to
whom the UC had been selling purportedly stolen property in an undercover capacity since
approximately January 2007. KOMETHA stated that he wanted to meet to discuss doing business
with the UC.

4. On or about July 11, 2007, defendant HASSAN MOHAMAD KOMETHA traveled
to Philadelphia to meet the UC. During this meeting, the UC said that the UC could sell stolen
laptop computers and Sony PlayStation 2 systems to KOMETHA at a price below retail value.! Even
after hearing explicit reference to the stolen nature of the goods, KOMELHA indicated that he wanted
to do business with the UC. Moreover, he noted that he only used prepaid cellular phones to call the
UC and advised the UC to buy a prepaid phone only to be used to communicate with KOMETHA.
KOMETHA expressly stated that prepaid phones provided better protection from law enforcement
SCruLy,

5. In conversations over the course of in or about July 2007, defendant HASSAN
MOHAMAD KOMEIHA instructed the UC to export from Philadelphia approximately 45
purportedly stolen laptop computers to “Daniel Nemer” (defendant DANI NEMR TARRAF) at
Power Express S.R.O. in Slovakia.

6. The conspirators purchased additional, pu tportedly stolen electronic equipment from
the UC over the course of the next few months, including:

a, On or about October 9, 2007, defendant HASSAN MOHA MAD KOMETAA
caused the UC to export from Philadelphia approximately 50 purportedly stolen laptop computers
and approximately 200 purportedly stolen Sony PlayStation 2 systems to “Daniel Nemer” (defendant
DANI NEMR TARRAP) at Power Express S.R.O, in Slovakia.

b. Qn or about November 19, 2007, defendant HASSAN MOHAMAD

 

Pursuant to 18 U.S.C. § 21, the term “stolen” in statutes such as IS U.S.C. § 2314
includes items that are represented to be stolen by a government agent.

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KOMEIHA caused the UC to expert from Philadelphia approximately 1,000 purportedly stolen
cellular telephones and approximately 300 purportedly stolen Sony PlayStation 2 systems to an
address in Asunscion, Paraguay.

c On or about November 26, 2007, defendant HASSAN MOHAMAD
KOMETHA caused the UC to export from Philadelphia approximately 98 purportedly stolen laptop
computers to “Daniel Nemer” (defendant DANT NEMR TARRAFP) at Power Express 5.R.O. in
plovakia.

7. On or about December 26, 2007, defendant HASSAN MOHAMAD KOMEIHA
brought a co-conspirator, defendant HUSSEIN ALI ASFOUR, a/k/a “Alex,” to a meeting with the
UC in Philadelphia. In ASFOUR’s presence, KOMETHA told the UC that ASFOUR was the person
who would take the blame for KOMETHA, in case anything went wrong with their business dealings,
because ASFOUR had less to lose than KOMETHA. In this meeting, ASFOUR and KOMETHA took
possession of approximately 2,000 purportedly stolen cellular telephones and caused the telephones
to be transported to Detroit, Michigan”

8. The conspirators purchased additional, purportedly stolen electronic equipment from
the UC over the course of the next few months, including:

A. On or about January 5, 2008, in Philadelphia, the UC delivered to defendant
HUSSEIN ALL ASFOUR, a/k/a “Alex” ~—— acting on behalf of defendant HASSAN MOHAMAD
KOMEIHA — approximately 900 purportedly stolen cellular telephones. ASPOUR caused those
phones to be transported from Delaware County (PA) to Los Angeles, California.

b, On or about January 10, 2008, in Philadelphia, the UC delivered to defendant
HUSSEIN ALI ASFOUR, a/k/a “Alex” —- again acting on behalf of defendant HASSAN
MOHAMAD KOMETHA — approximately 2,000 purportedly stolen cellular phones. ASFOUR
caused those phones to be transported from Delaware County (PA) to Los Angeles, California.

c. On or about February 6, 2008, in Philadelphia, the UC delivered to defendant
HUSSEIN ALL ASFOUR, a/k/a “Alex” ~~ again acting on behalf of defendant HASSAN
MOHAMAD KOMEIHA — approximately 1,100 purportedly stolen cellular telephones. ASFOUR
caused those phones to be transported from Delaware County (PA) to Los Angeles, California.

 

In several ways, defendant ASPOUR demonstrated his criminal knowledge and
mtent on or about December 26, 2007. For instance, at one point, ASFOUR asked an undercover
law enforcement officer if any surveillance cameras in the area were capable of recording their
presence or connect them to the (purportedly stolen) cellular telephones. ASFOUR also inquired
about the diligence of the Philadelphia Police Department in pursuing these sort of crimes,
Finally, ASFOUR stated that, ance the phones were exported [out of the United States], there
was no longer a risk of getting caught.
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a. On or about February 29, 2008, defendant HASSAN MOHAMADKOMEIHA
purchased approximately 100 purportedly stolen laptop computers from the UC and instructed the
UC to export these computers to Power Express S.R.O. in Slovakia. On or about that same day, in
an email to both defendants KOMEIHA and HUSSEIN ALT ASPOUR, a/k/a “Alex,” the UC
expressly advised the defendants about the stolen nature of the UC’s merchandise: “Hass you need
to send that money quicker. Remember “Ali-Baba and the 40 thieves’, my thieves have to eat. You
owe ine some coin.”

e. On or about March 11, 2008, at the instructions of defendant HASSAN
MOHAMAD KOMEIHA, the UC delivered to defendant HUSSEIN ALEASFOUR, a/k/a “Ajex,”
in Philadelphia approximately 1,000 purportedly stolen cellular telephones. ASFOUR caused those
phones to be transported from Delaware County (PA) to Los Angeles, California.

9, On or about April 3, 2008, defendant HASSAN MOHAMAD KOMEIHA visited the
UC in Philadelphia to discuss, among other things, KOMEIHA’s payments for merchandise. During
that meeting, KOMEIHA replaced the SIM card in his cellular phone and placed a call to “Dani”
(defendant DANI NEMR TARRAF) in Arabic. KOMETHA handed the phone to the UC, whe spoke
to DANI NEMR TARRAF in English. TARRAF advised the UC that the UC would receive a
575,000 payment within the next 10 days. On or about April 23, 2008, defendants DAN] NEMR
TARRAF and DOURI NEMR TARRAF, on behalf of Power Express $.R.O., caused a wire transfer
to be sent in the amount of approxmmnately $74,955 to the UC’s bank account.

iQ. On or about May 27, 2008, in Slovakia, the UC met defendants DANT NEMR
TARRAF, DOURLNEMR TARRAF, and HASSAN MOHAMAD KOMETHA af the offices of
Power Express $.R.O. During their conversations and interactions, the UC learned from defendant
DANLNEMR TARRAF that, in substance, while DANI NEMR TARRAF acts as the head of Power
Express S.R.O., DOURI NEMR TARRAE serves as his assistant and handles logistical matters such
as payments and correspondence, In the presence of these defendants, the UC talked about, among
other things, the criminal nature of the UC’s business:

Ue. Dani, you got to know that all my stuff comes... i'm
not a regular businessman...

DANE: Absolutely,

ey All ney stuff comes... it's stolen.

DANE Fes. yes, | know,

Ue: I bring if here, and you have to make sure vou re
taking care of stuff and it's nat coming back to the
SELES,

DANI Exactly, exactly,

Ue OK, perfect. Alright, babe, that's all | needed to
KNOW.

Li. In the Slovakia meeting on or about May 27, 2008, in the presence of defendants

4.
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HASSAN MOHAMAD KOMEIHA and DOURI NEMR VARRAD, defendant DANI NEMR
TARRAP asked the UC to acquire for them additional goods beyond the consumer electronic
equipment that had been supplied up to that point.’ Defendant DAN] NEMR TARRAF noted that
he participated in the transportation of that equipment as a favor to defendant KOMELHA. and that
his primary business was obtaining more sophisticated types of equipment. Indeed, as the
conspirators discussed the types of equipment they wanted from the UC in the future, defendant
DOURT NEMR TARRAF handed to the UC product specifications that be had printed from the
Internet, including specifications for (1) thi rd-generation® night-vision camera lenses: (2) low-heht
video cameras; and (3) thermal imaging devices.

12, Also in this Slovakia meeting on or about May 27, 2008, in the presence of defendant
HASSAN MOHAMAD KOMEIHA, defendants DANI NEMR VTARRAF and DOURI NEMR
TARRAP advised the UC to communicate with them in the future through encrypted emails.

i3. At this Slovakia meeting on or about May 27, 2008, defendant HASSAN
MOHAMAD KOMEIHA made it clear to all participants that he would continue to participate in
the conspiracy as a liaison between the defendants and the UC. Defendant KOMEIHA stated that
he would be “in the middle all the time” and that he would be “the hidden fighter.” Later, on or
about June 18, 2008, defendant KOMEIHA reiterated that he was the “middleman” between the UC
and the defendants,” and that they can’t be without defendant KOMEIHA because he is their

 

“
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The UC claimed to have contacts on United States military bases who could steal
equipment.

‘ itis my understanding that night-vision technology is classified according to
“generations.” First generation is the most basic, and second and third-generation connote
increasingly sophisticated technology,

; Defendant KOMEIHA negotiated a commission for himself on each successful
transaction between the UC and the defendants. On or about October 16, 2008, defendant
KOMETHA emphasized to the UC that he had helped establish a good relationship between the
UC and defendant DANI NEMR TARRAF. Defendant KOMEIHA stated that he was going to
receive an unspecified commission from defendant DANI NEMR TARRAF, and he asked for a
commission from the UC, as well, in payment for serving as the middleman. The UC agreed to
pay defendant KOMEIHA a 5% commission on all transactions between the defendants and the
UC, Thereafter, the UC and defendant KOMEIHA communicated about specific transactions on
which defendant KOMEIHA would earn a commission, and, on or about September 18, 2009,
the UC sent an email to defendant KOMEIHA summarizing all of the UC’s transactions with the
defendants on which defendant KOMEIHA had earned commissions (applied to a debi owed to
the UC for unpaid, purportedly stolen electronics). This email explicitly noted the military nature
of some of the items, such as “500 military radios,” “1000 military compasses,” and “43 night-
vision cameras.” Defendant KOMEIHA received this email and replied to it soon thereafter with
a message about obtaining more (purportedly stolen) electronics from the UC.

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“godfather.”

14. the conspirators purchased additional, purportedly stolen merchandise from the UC
over the course of the next few months, mecluding:

a, After meeting the UC in Slovakia on or about May 27, 2008, defendants
DANINEMR TARRAF and DOUR] NEMR TARRAF comm unicated with the UC about the UC’s
ability to obtain military-grade compasses for the defendants. On or about August 11, 2008, the LIC
exported from Philadelphia approximately 1,000 Cammenga model 27 lensatic compasses to the
defendants’ associates via the Beirut International Airport in Lebanon. Defendant DAN] NEMR
TARRAF instructed the UC to mislabel the shipment as “spare parts” on export documents. Over
the course of the next week, the UC communicated with both defendants DANI NEMR TARRAF
and DOURL NEMR TARRAF to confirm receipt of the compasses in Lebanon.

b. In or about June 2008, defendants DANI NEMR. TARRAF and DOURI
NEMR TARRAF asked the UC to obtain for them Yaesu Model FT-60R two-way radios-— a
sophisticated radio which offers approximately 1,000 memory channels capabie of exchanging
communications between radio frequencies and fiber-optic networks. In two shipments in or about
2008, the UC exported a total of approximately 500 of these radios to the defendants’ associates via
the Beirut International Airport in Lebanon. For each shipment, defendant DANI NEMR TARRAF
instructed the UC to mislabel the shipment as “spare paris” on export documents.

c On or about June 5, 2008, defendants DANT NEMR TARRAF, DOURI
NEMR TARRAF, and HASSAN MOHAMAD KOMEIHA purchased approximately 200 purportedly
stolen laptop computers from the UC and caused the UC to ex port those computers from Philadelphia
to Power Express S.R.O. in Slovakia.

cl. On or about September 19, 2008, defendants DANI NEMR TARRAF and
BOURT NEMR TARRAF® caused the UC to export approximately 95 purportedly stolen cellular
teiephones from Philadelphia to an address in Bahrain.

é. in two shipments, on or about September 19, 2008 and on or about December
19, 2008, the UC exported a total of approximately 43 SunStar 300 cameras to the defendants?
associates via the Beirut International Airport in Lebanon. For each shipment, defendant DANI
NEMR TARRAF instructed the UC to mislabel the shipment as “spare parts” on export documents.

1S, Throughout the course of their interactions, the UC made other statements to the
defendants that made it clear that the merchandise offered for sate by the LIC was illegally obtained,

 

. On or about November 21, 2008, defendant DOURI NEMR TARRAF spoke with
the UC in Philadelphia via telephone to report that approximately $20,000 had recently been
wired to the UC in partial payment.

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a. Porexample, on or about December 23, 2008, when defendant DAN] NEMR
TARRAF requested additional, purportedly stolen cellular telephones, the UC claimed that the
holiday season caused increased government inspections and scrutiny, and that the UC therefore
wanted to be cautious for now. The UC reiterated the same sentiment (1) to DOURT NEMR
TARRAF in a telephone call on or about December 24” and January 11, 2009, regarding DOURI
NEMR TARRAF” s request for more purportedly stolen cellular telephones destined for Bahrain, and
(2) to defendant DANI NEMR TARRAF ina telephone call on January 1, 2009, in response to his
mquiry whether any additional merchandise had been sent.

b. in a telephone call on or about February 25, 2009, defendant DOURI NEMR
TARRAF told the UC that he (DOURI) had lined up buyers for additional, wrttportedly stolen
cellular telephones whenever the UC could supply them. The UC asked DOURINEMR TARRAF
iPany of the buyers were aware that the UC supplied the phones or that the phones were stolen.’
DOURTNEMR TARRAF replied that the buyers did not know that the phones were stolen, and that
he (DOURD) just tells them that the phones come from the United States.

16. On or about March 13, 2009, defendant DANI NEMR TARRAF met the UC in
Philadelphia and, among other things, agreed to purchase from the UC approximately four,
purportedly stolen BMW automobiles to be exported to Lebanon along with additional purportedly
stolen electronics, On or about April L1, 2009, the UC exported from P hiladelphia to Lebanon
approximately 100 purportedly stolen Sony PlayStation 2 systems and approximately 100 purportedly
stolen cellular telephones, and on or about May 15, 2009, the UC exported those automobiles to
Lebanon.

Antt-Aircraft Missiles & Machineguns — 18 U.S.C. § 23322 & 18 U.S.C. § 371

17. ln or about mid-March 2009, in Philadelphia, defendant DANI “ IMR TARRAF
asked the UC if the UC could acquire missiles or rockets that were capable o f shooting down
airplanes or helicopters, Defendant TARRAF clarified that he was looking for a particular kind of
rocket that included a compass so that a user could “move it as you wish” [guided missile ah.

18. in or about mid-June 2009, in Philadelphia, defendant DANI NEMR TARRAF again
asked whether the UC could supply enue missiles. Defendant TARRAF clarified that the missiles
needed to be able to “take down an F-16.” During that visit, in Philadelphia, after discussing the

 

; This point was driven home when a shipment of cellular telephones were

temporarily detained by customs officials in Lebanon because DOURI NEMR TARRAF had
supplied the UC with deficient information for the airway bill, This led the UC to remind
defendant DOURI NEMR TARRAF, in a telephone call on or about February 28, 2009, that the
secrecy of this shipment was important because “the fexp/efive] is stolen.”

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potential availability of machineguns —~ specifically, Colt M4 Carbines* — and other weapons,
defendant TARRAF asked whether the UC could export materials to Syria or [ran for use by “the
Resistance.” Later on that visit, defendant TAR RAF reiterated thai he wanted the UC to export
approximately 10,000 “commando” machineguns [Colt M4 Carbines with short barrels] to Syria or
Iran,

19, On or about July 28, 2009, defendant DAN] NEMR TARRAP again met the UC in
Philadelphia, among other things, to pay an initial deposit of approximately $20,000 cash toward the
shipping casts for FIM-92 Stinger missiles’ and approximately 10,000 Colt M4 Carbines. Defendant
TARRAP specified that the weapons should be exported to the Port of Latakia in Svria, where he
controlled the port and where secrecy was guaranteed because all cameras could be shut down at the
port for the shipment. Defendant TARRAF reiterated that no shipping paperwork was required at
all once the items reached Syria,

20, Defendant DANI NEMR TARRAF traveled to Philadelphia on or about November
<0}, 2009, to inspect the missiles and machineguns to be exported by the UC to the Port of Latakia,
Syria.

Conspiracy to Commit Passport Fraud ~18 U.S.C. & 377

21. Defendants DANI NEMR TARRAF and ALIFADEL YAHFOUFI worked with the
UC to obtain a United States passport through fraudulent means.

22, Defendant ALIFADEL YAHFOUFL, a citizen of Lebanon, served as an assistant to
defendant DANI NEMR TARRAP at Power Express §-R.O. During the Slovakia meeting in or
about September 2008, defendant YAHFOUFT asked the UC for assistance in obtaining a United
States passport in his name, Later, on this same visit, defendant TARRAF stated that he approved
of the plan and even agreed to pay for defendant YAHFOU E's passport. Later, during the same

 

6 lain aware that the Colt M4 Carbine is a machinegun manufactured in the United

States. The rifle’s short barrel, light weight, collapsible stock, and accessory rails make it useful
in close-quarter fighting. These rifles are capable of quickly firing a large number of bullets and
can be loaded, among other things, with a 90-round circular magazine. Defendant DANI NEMR
TARRAP asked the UC to obtain approximately 250 of these circular magazines during the UC’s
visits to Slovakia in or about September 2008 (in the presence of defendant DOURI NEMR
TARRAP) and during his visit to the Philadelphia area in or about mid-March 2009. in hight of
its application to urban warfare.

° Tam aware that the FIM-92 Stinger is a shoulder-fired, heat-seeking, surface-to-air
explosive missile manufactured in the United States for military use, The missiles are capable of
destroying large aircraft, such as airplanes and helicopters. In a conversation about the stinger
missiles on or about July 31, 2009, defendant DANI NEMR TARRAF toid the UC that “if you
could get 100 pieces [missiles], they would need it,”

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visit, defendant YAHFOUF! provided passport photos of himself to the UC for use in his United
States passport.

23, On or about October 7, 2008, defendant ALL FADEL, YAHFOUFT sent the UC via
fax to Philadelphia an application for a United States passport in which he identified his birthplace
as Baalbeck, Lebanon, and listed his social security number (falsely) as “078-586-273 (nb— with
one extra number in the middle series). The UC called back defendant YAHFOUFT to advise him
to list a mailing address in the United States so that. as a ertizen, he could obtain a passport.
Defendant YAHFOUFI instructed the UC to put whatever false information was required for the
application. The UC thereupon listed defendant VAHFOUFIT's mailing address 1033 Avenue of the
Americas, New York, New York,

ot, In a telephone conversation on or about December 6. 2008, the UC reported to
defendant DANI NEMR TARRAF that the paperwork for defendant ALT FADEL YAHFOUPT's
United States passport was going smoothly. Defendant TARRAF stated that he would pay for the
passport and that “I pay everything for Ali.” Defendant TARRAF noted that there were two other
people for whom he wanted to obtain United States passports Craudulently) through the UC.

25. in or about July 2009, in Philadelphia, the UC displayed to defendant DANI NEMR.
TARRAF a United States passport in the name of defendant ALI FADEL YAHPOUFTL The UC
instructed defendant TARR AF that defendant YAHFOUFI would need to travel to the United States
to pick up the passport in person.

Conclusion

26, Based on the facts set forth above, | submit that there is probable cause to believe
that the following defendants have committed violations of the statutes set forth below, and I request
that arrest warrants be issued charging that:

a) from in or about June 2007 through and including in or about November 2009, DANI
NEMR TARRAF, DOURINEMR TARRAF, HASSAN MOHAMAD KOMETHA,
and HUSSEIN ALI ASFOUR, a/k/a “Alex,” conspired to transport stolen goods, in
violation of Title 18, United States Code, Section 371:

b) from in or about March 2009 through and including in or about November 2009,
DANI NEMR TARRAF conspired to acquire a missile system designed to destroy
aircraft, in violation of Title 18, United States Code, Section 2332;

©) from in or about March 2009 through and inc! uding in or about November 2009,

DANI NEMR TARRAF conspired to possess machineguns, in violation of Title 18,
United States Code, Section 371: and

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a} from in or about September 2008 thr ough and including in or about November 2009,

DANINEMR TARRAF and ALIFADEL YAHFOUFI cons: pired to commit passport
fraud, in violation of Title 18, United States ode, Section 371.

 

amas Areme
SAMUEL SMEMO. it

Supervisory Special Agent
Federal Bureau of Investigation

Swern to and Doge

before me thises
of November, 2009

On. Lay Ie fe

HONORABLE TIMOTHY R. | dae
United States Magistrate Judge
